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                                       UNITED STATES BANKRUPTCY COURT
                                                Southern DISTRICT OF Texas
                                                             Houston Division


In Re. NB Loft Vue, DST                                             §                   Case No. 21-32292
                                                                    §
                                                                    §                   Lead Case No. 21-32292
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 08/31/2021                                                        Petition Date: 07/06/2021

Months Pending: 2                                                                         Industry Classification:    5   3   1   1

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Thomas R. Fawkes                                                         Thomas R. Fawkes
Signature of Responsible Party                                               Printed Name of Responsible Party
09/28/2021                                                                   Tucker Ellis LLP
Date                                                                         233 S. Wacker Drive, Suite 6950
                                                                             Chicago, Illinois 60606
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name NB Loft Vue, DST                                                                    Case No. 21-32292


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                         $118,249
b.   Total receipts (net of transfers between accounts)                                      $150,045                  $209,250
c.   Total disbursements (net of transfers between accounts)                                 $107,162                  $108,456
d.   Cash balance end of month (a+b-c)                                                       $161,132
e.   Disbursements made by third party for the benefit of the estate                                 $0                     $0
f.   Total disbursements for quarterly fee calculation (c+e)                                 $107,162                  $108,456
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                               $30,850
b.   Accounts receivable over 90 days outstanding (net of allowance)                          $10,531
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                            $0
e.   Total assets                                                                         $18,163,468
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                             $10,712,000
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                $219,052
n.   Total liabilities (debt) (j+k+l+m)                                                   $10,931,052
o.   Ending equity/net worth (e-n)                                                         $7,232,416

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                     $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                     $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                     $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                        $147,004
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                      $147,004
d.   Selling expenses                                                                         $42,402
e.   General and administrative expenses                                                       $1,169
f.   Other expenses                                                                           $15,509
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                            $99,284                  $121,209


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Debtor's Name NB Loft Vue, DST                                                                                  Case No. 21-32292

Part 5: Professional Fees and Expenses

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
a.       Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0              $0               $0               $0
         Itemized Breakdown by Firm
               Firm Name                           Role
         i     0                                   Other                                     $0              $0               $0               $0
         ii    0                                                                             $0              $0               $0               $0

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
b.       Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total               $0              $0               $0               $0
         Itemized Breakdown by Firm
               Firm Name                           Role
         i     0                                                                             $0              $0               $0               $0
         ii    0                                                                             $0              $0               $0               $0
c.       All professional fees and expenses (debtor & committees)                            $0              $0               $0               $0

Part 6: Postpetition Taxes                                                                         Current Month              Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                                       $0                          $0
e.   Postpetition property taxes paid                                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)                  Yes        No
b.   Were any payments made outside the ordinary course of business                          Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                                     Yes        No
d.   Are you current on postpetition tax return filings?                                     Yes        No
e.   Are you current on postpetition estimated tax payments?                                 Yes        No
f.   Were all trust fund taxes remitted on a current basis?                                  Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                          Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by                     Yes        No      N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                                Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             Casualty/property insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             General liability insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                                 Yes        No


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Debtor's Name NB Loft Vue, DST                                                                                Case No. 21-32292


k.      Has a disclosure statement been filed with the court?                             Yes          No
l.      Are you current with quarterly U.S. Trustee fees as                               Yes          No
        set forth under 28 U.S.C. § 1930?

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.


/s/ Maria Pietroforte                                                           Maria Pietroforte
Signature of Responsible Party                                                  Printed Name of Responsible Party

Responsible Person                                                              09/28/2021
Title                                                                           Date




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                                                                                                               EXHIBIT A
                                                                                                    Schedule of Cash Receipts and Disbursements
                                                                                           Current Month                                                                                          Cumulative to Filing Date
                                         Operating Account Sources and Uses Account Distributions Account Security Deposits Account      TOTAL             Operating Account Sources and Uses Account Distributions Account Security Deposits Account    TOTAL
Cash Beginning of Month (Petition Date): $      103,586.29 $              12,812.12 $              522.54 $                 1,328.06 $       118,249.01    $       45,690.27 $              12,812.12 $              522.54 $                 1,313.63

Receipts:
                                        $        2,578.12
                                        $          555.49
                                        $       40,008.05
                                        $       10,509.18
                                        $        3,083.45
                                        $       10,926.20
                                        $        6,015.65
                                        $       11,381.28
                                        $        2,630.31
                                        $        4,492.15
                                        $        7,536.96
                                        $        6,068.04
                                        $        4,694.56
                                        $        1,635.14
                                        $        7,324.53
                                        $        2,833.00
                                        $        3,179.27
                                        $       13,944.50
                                        $        8,757.15
                                        $          958.00
                                        $          934.00


                               TOTAL: $        150,045.03 $                     -    $               -    $                    -     $        150,045.03   $      209,232.13 $                     -    $               -    $                   17.71 $ 209,249.84

Disbursements:
                                        $       12,596.13                                                 $                 632.29
                                        $          147.63                                                 $                   4.23
                                        $          502.26                                                 $                 400.00
                                        $          277.32
                                        $           40.00
                                        $          785.48
                                        $          457.09
                                        $           36.86
                                        $          193.64
                                        $          195.00
                                        $          258.00
                                        $          898.00
                                        $          239.44
                                        $        7,727.15
                                        $          758.49
                                        $          644.42
                                        $        2,086.73
                                        $        6,445.12
                                        $        2,483.27
                                        $          687.40
                                        $          895.00
                                        $       10,055.83
                                        $          128.52
                                        $        6,298.06
                                        $        7,457.89
                                        $       30,000.00
                                        $          288.47
                                        $       10,481.72
                                        $        2,334.29
                                        $          457.09
                                        $          269.27

                               TOTAL: $        106,125.57 $                     -    $               -    $                1,036.52 $         107,162.09   $      107,416.65 $                     -    $               -    $                1,039.80 $ 108,456.45

Cash - End of Month:                    $      147,505.75 $               12,812.12 $             522.54 $                  291.54 $          161,131.95   $      147,505.75 $               12,812.12 $             522.54 $                  291.54 $ 161,131.95
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                                          EXHIBIT B
                     Balance Sheet
                          Loft Vue
                        Accrual Basis
                         Aug 2021

Account Name                                       Aug 2021
Assets
  Pending Reimbursements                             1,065.85
  Current Assets
    Cash
      Operating Account                           (76,669.46)
      Security Deposit Bank Account                (1,032.29)
      Undeposited Funds                           376,180.78
      Security Deposit Account                     (2,143.86)
      Petty Cash                                     3,000.00
                                         Cash     299,335.17
    Accounts Receivable
      Accounts Receivable                           66,865.94
      Other Receivable                                  50.00
      Master Lease Receivable                       74,846.95
      Inter-Company Receivable                    (17,761.62)
                       Accounts Receivable        124,001.27
    Other Current Assets
      Inter-company Receivable                    (30,000.00)
      Suspense                                     (1,694.02)
      Reserve Receivable - NBPR                        (95.09)
      Prepaid Expenses                               1,797.25
      Utility Deposits                              10,167.75
                       Other Current Assets       (19,824.11)
                             Current Assets       403,512.33
  Other Non-current Assets
    Loan Fees                                      14,999.76
    Organizational Costs                              900.00
                   Other Non-current Assets        15,899.76
                                        Assets    420,477.94
Liabilities & Equity
  Liabilities
    Current Liabilities
       Accounts Payable
          Accounts Payable                       1,135,792.37
          Inter-Company Payable                    109,711.62
          Inter-Company A/P (New)                  618,925.45
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      Unclaimed Property                               327.29
      Accrued Liabilities                            8,850.00
      Master Lease Payable                       1,948,471.17
                          Accounts Payable       3,822,077.90
    Tenant Payables
      Security Deposit Liability                    44,652.00
      Prepaid Rent Liability                        46,938.03
                           Tenant Payables          91,590.03
    Nelson Bros Payables
      NBPM Loan                                     22,600.00
                     Nelson Bros Payables           22,600.00
                          Current Liabilities    3,936,267.93
                                  Liabilities    3,936,267.93
Equity
  Capital
   Owner Equity
      Prior Years Retained Earnings                  6,500.51
                             Owner Equity            6,500.51
                                     Capital         6,500.51
  Retained Earnings
   Retained Earnings
      Retained Earnings                         (3,522,290.50)
                          Retained Earnings     (3,522,290.50)
                          Retained Earnings     (3,522,290.50)
                                      Equity    (3,515,789.99)
                       Liabilities & Equity        420,477.94
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                                       EXHIBIT C
                  Income Statement
                         Loft Vue
                       Accrual Basis
                        Aug 2021

Account Name                                 Aug 2021
Rent Revenue
  Total Gross Potential Rent
    Rents - Market                          126,112.10
               Total Gross Potential Rent   126,112.10

  Rental Adjustments
    Employee Discounts                      (3,938.00)
    Rent Concessions                        (3,164.53)
    Bad Debt - Rent                            (51.60)
                     Rental Adjustments     (7,154.13)

                           Rent Revenue     118,957.97

Other Revenue
  Utilities Recovery                        12,211.14
  Late Fee Income                               943.09
  Cleaning Fees                                  15.00
  Parking Income                              4,335.00
  Early Termination Fees                      4,221.95
  NSF Fees                                      100.00
  Damages                                     4,873.75
  Key Charges                                   150.00
  Pet Fees                                      570.00
  Contract Transfer Fees                        250.00
  Short Term Lease Fees                       1,925.00
  Other Fees/Income                              50.00
  Other Concessions                         (1,599.00)
                           Other Revenue    28,045.93

                           Total Revenue    147,003.90

Operating Expenses
 Contract Services
   Fire Alarm Monitoring                        214.37
   Elevator Service                          10,565.05
                       Contract Services     10,779.42
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  Maintenance & Grounds
   Landscaping & Gardening                      457.09
   Janitorial Supplies & Services               303.37
   General Maintenance                          586.42
   Maintenance Supplies                         426.58
                 Maintenance & Grounds        1,773.46

  Repairs
    HVAC Repairs                                37.50
    Plumbing Repairs                           269.08
    Lightbulbs & Fixtures                      274.56
                                 Repairs       581.14

  Turnover Expenses
    Cleaning - Turnover                       4,254.57
    Carpet Cleaning - Turnover                2,426.19
    Painting - Turnover                       4,952.00
    General Repairs - Turnover               15,745.15
    Maintenance/Supplies - Turnover             574.10
                       Turnover Expenses     27,952.01

  General & Administrative
   Property Management Software                 358.65
   Office Telephone                             390.89
   Legal & Filing Expenses                      121.00
   Office Supplies                              232.93
   Business Licenses & Permits                   65.42
                General & Administrative      1,168.89

  Advertising & Marketing
    Advertising & Promotion                    125.00
    Marketing - Entertainment                   21.65
                  Advertising & Marketing      146.65

                      Operating Expenses     42,401.57

                    Net Operating Income    104,602.33

Other Expenses
  Other Misc. Expense
    Other Professional Fees                  10,238.59
                     Other Misc. Expense     10,238.59
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 Capital Expenditures Non-op Expenses
   Furniture/Equipment - Cap Ex             (10,153.85)
   Appliances - Cap Ex                         5,185.57
 Capital Expenditures Non-op Expenses        (4,968.28)

                          Other Expenses      5,270.31

Other Income
  Cafe Operations
    Cafe Food Purchases                         (48.13)
                          Cafe Operations       (48.13)

                            Other Income        (48.13)

                              Net Income     99,283.89
